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                                                                               SUMMARY OF LOSS ATTRIBUTED TO LEONARD LUTON

DATE                                                                                                TRIAL                                                                               CASH/
            NAME OF                                                                        ADDN'L                                                                                                           SHIP       SHIP
(on or                           ADDRESS                 S.O. BANK          S.O. AMT               VERSION                    BATES                        COMMENT                     CHECK/                                   OTHER BATES NO
           RECIPIENT                                                                      AMNT DUE                                                                                                          COST      METHOD
about)                                                                                             AMOUNT                                                                              PHONE
                                                                                                                         Bank Stmnt: BEP_4
03/21/18                                                                       1,000.00                                                                  AMT agrees w/bs w'l.
                                                                                                                        Bank Support: BEP_7
                                                                                                                         Bank Stmnt: BEP_4          $10,600 Cashier's Check to Jane
03/22/18   Jane Therault                               Bank of EP Savings     10,606.00                 10,606.00                                                                     cashier's check
                                                                                                                      Bank Support: BEP_8 (CC)             Therault. $6 Fee.
                            4370 Wimbleton Dr Apt 8,                                                                                                                                                                           Name & Address of S.O. &
03/26/18   Sandra Pitcher                                 Safeway/cash         1,960.00                  1,960.00              WU_2                                                   Western Union
                              Grandville MI 49418                                                                                                                                                                                   Pitcher: WU_2
                            4370 Wimbleton Dr Apt 8,                                                                                                                                                                           Name & Address of S.O. &
03/27/18   Sandra Pitcher                                 Safeway/cash         1,960.00        39.20     1,999.20              WU_2                                                   Western Union
                              Grandville MI 49418                                                                                                                                                                                   Pitcher: WU_2
                                                                                                                              WU_2
                            4370 Wimbleton Dr Apt 8,                                                                                                                                                                           Name & Address of S.O. &
03/27/18   Sandra Pitcher                                 Safeway/cash         1,960.00                  1,960.00   Bank Support: FLG_9 (Pitcher                                      Western Union
                              Grandville MI 49418                                                                                                                                                                                   Pitcher: WU_2
                                                                                                                          check to Luton)
                                                                                                                        Bank Stmnt: BEP_4
                                                                                                                       Bank Support: BEP_9
                                                                                                                                                      $5,000 Cashier's Check to
                            4370 Wimbleton Dr Apt 8,                                                                        (CC/Cash)                                                                                          Name, Address, & Ship Cost:
03/27/18   Sandra Pitcher                                  Bank of EP          3,006.00      1,994.00    5,000.00                                   Sandra Pitcher. $6 Fee. $3,006         cash         $     15.90    UPS
                              Grandville MI 49418                                                                                                                                                                                     INV_1955
                                                                                                                                                         w'l. $2,000 Cash in.
                                                                                                                    Bank Support: FLG_9 (Pitcher
                                                                                                                           check to Luton)
                                                                                                                    Bank Support: INV_1760-1761;
                                                                                                                        Bank Stmnt: BEP_44
                            4370 Wimbleton Dr Apt 8,
03/29/18   Sandra Pitcher                                  Bank of EP          9,095.75                  9,095.75 Bank Stmnt: HNB_120 (Pitcher                COUNT 2                 cashier's check
                              Grandville MI 49418
                                                                                                                              Acct)
                                                                                                                  Bank Support: HNB_9 (Pitcher
                                                                                                                              Acct)
                                                                                                                     Bank Stmnt: PMCU_23
                                                                                                                    Bank Support: PMCU_119
                            4368 Wimbleton Dr Apt 8,
04/02/18   Sandra Pitcher                              Premier Members CU     28,002.00                 28,002.00    Bank Stmnt: FLG_16 (Pitcher                                          check                        UPS         Address: INV_1694
                              Grandville MI 49418
                                                                                                                                Acct)
                                                                                                                    Bank Support: FLG_10 (Pitcher
                                                                                                                                Acct)
                                                                                                                       Bank Stmnt: PMCU_23
                                                                                                                      Bank Support: PMCU_120
                                                                                                                                                             COUNT 3
                            4369 Wimbleton Dr Apt 8,
04/03/18   Sandra Pitcher                              Premier Members CU      9,097.75                  9,097.75      Bank Stmnt: HNB_120           $9,095.75 check disbursed to     cashier's check
                              Grandville MI 49418
                                                                                                                            (Pitcher Acct)              Sandra Pitcher. $2 fee
                                                                                                                    Bank Support: HNB_10 (Check,
                                                                                                                             Pitcher Acct)
                                                                                                                       Bank Stmnt: PMCU_23
                                                                                                                      Bank Support: PMCU_111
                            4370 Wimbleton Dr Apt 8,                                                                                                  $20,000 check disbursed to
04/10/18   Sandra Pitcher                              Premier Members CU     20,000.00                 20,000.00    Bank Stmnt: FLG_16 (Pitcher                                          check                        UPS         Address: INV_1694
                              Grandville MI 49418                                                                                                           Sandra Pitcher
                                                                                                                                Acct)
                                                                                                                    Bank Support: FLG_11 (Pitcher
                                                                                                                                Acct)
                                                                                                                     Bank Stmnt: PMCU_24 & 30
                                                                                                                             (Reverse)
                                                                                                                                                      $45,000 check disbursed to
                            4371 Wimbleton Dr Apt 8,                                                                  Bank Support: PMCU_122                                          Cashier's Check
04/16/18   Sandra Pitcher                              Bank of EP/Premier     45,002.00                 45,002.00                                       Sandra Pitcher. $2 fee                                         UPS         Address: INV_1694
                              Grandville MI 49418                                                                                                                                     (Returned 5/30)
                                                                                                                                                           05/30 Reversed
                                                                                                                    Bank Support: ONB_6 (Pitcher
                                                                                                                          Acct withdrawal)


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DATE                                                                                                              TRIAL                                                                        CASH/
              NAME OF                                                                                    ADDN'L                                                                                                    SHIP       SHIP
(on or                                    ADDRESS                     S.O. BANK           S.O. AMT               VERSION                BATES                       COMMENT                   CHECK/                                   OTHER BATES NO
             RECIPIENT                                                                                  AMNT DUE                                                                                                   COST      METHOD
about)                                                                                                           AMOUNT                                                                       PHONE
                                                                                                                                   Bank Stmnt: BEP_12
                                                                                                                                                                       COUNT 4
                                                                                                                                  Bank Support: BEP_16
                                                                                                                                                                BEP_16 (04/16) $45,000
                                                                                                                                                                                             Cashier's Check
                                    4371 Wimbleton Dr Apt 8,                                                                                                    Cashier's Check to Sandra
04/16/18      Sandra Pitcher                                        Bank of EP Savings      45,006.00              45,006.00   Bank Stmnt: GRB_11 (Pitcher                                    (returned 5/3
                                      Grandville MI 49418                                                                                                           Pitcher. $6 Fee.
                                                                                                                                           Acct)                                                $45,000)
                                                                                                                                                              BEP_17 (05/03) Returned from
                                                                                                                                Bank Support: GRB_12-13
                                                                                                                                                                   Grand River Bank
                                                                                                                                      (Pitcher Acct)
                                                                                                                                 Bank Stmnt: BEP_49 OR
                                                                                                                                        PMCU_30
05/22/18                                                                                     2,000.00                                                             AMT agrees w/bs w'l.
                                                                                                                                Bank Support: BEP_52 OR
                                                                                                                                       PMCU 124
                                       854 N Tacoma Apt C,                                                                                                                                                                            Name, Address & Ship Cost:
05/23/18      John Anderson                                                                 10,000.00              10,000.00                                                                      cash         $     49.19    UPS
                                       Allentown, PA 18109                                                                                                                                                                                   INV_1950
                                   35 N 14th St Apt 9,Allentown,                                                                                                                                                                      Name, Address & Ship Cost:
05/24/18       Paul Wither                                                                  10,000.00              10,000.00                                                                      cash         $     49.19    UPS
                                            PA 18102                                                                                                                                                                                         INV_1951
                                                                                                                                   Bank Stmnt: BEP_53
05/29/18                                                               Bank of EP            9,000.00               9,000.00                                                                      cash
                                                                                                                               Bank Support: BEP_55 (Cash)
                                                                                                                                  Bank Stmnt: PMCU_30
                                   172-42 Brocher Rd, Jamaica,
05/29/18      John Anderson                                        Premier Members CU        9,000.00               9,000.00     Bank Support: PMCU_125                                                                       FedEx   Name & Address: INV_1580
                                           NY 11434
                                                                                                                                          (Cash)
                                                                                                                                  Bank Stmnt: PMCU_30
                                   172-42 Brocher Rd, Jamaica,
05/30/18      John Anderson                                        Premier Members CU       10,000.00              10,000.00     Bank Support: PMCU_126                                                                       FedEx   Name & Address: INV_1586
                                           NY 11434
                                                                                                                                          (Cash)
                                                                                                                                   Bank Stmnt: BEP_12
05/30/18                                                                                    15,000.00                                                             AMT agrees w/bs w'l.
                                                                                                                                  Bank Support: BEP_19
                                                                                                                                   Bank Stmnt: BEP_53
05/30/18                                                                                    15,000.00                                                             AMT agrees w/bs w'l.
                                                                                                                                  Bank Support: BEP_56
                                                                                                                                   Bank Stmnt: BEP_12
06/01/18                                                                                    50,000.00                                                             AMT agrees w/bs w'l.
                                                                                                                                  Bank Support: BEP_20
                                                                                                                                  Bank Stmnt: PMCU_34
                                   172-42 Brocher Rd, Jamaica,                                                                   Bank Support: PMCU_127
06/04/18      John Anderson                                        Premier Members CU       15,000.00              15,000.00                                                                                                  FedEx   Name & Address: INV_1581
                                           NY 11434                                                                                       (Cash)
                                                                                                                               Cash Receipt Form: PMCU 70
                                                                                                                                   Bank Stmnt: BCO_62
           Nicoli Miller/ Sandra                                                                                                                               $15,000 Cashier's Check to
06/05/18                               Pomepano Beach, FL              Bank of CO           15,000.00              15,000.00    Bank Support: BCO 64 & 65
                  Pitcher                                                                                                                                            Nicoli Miller
                                                                                                                                           (CC)
                                                                                                                                   Bank Stmnt: BCO_33
                                                                                                                                Bank Support: BCO_35 & 36
                                                                                                                                           (CC)                $15,000 Cashier's Check to
06/05/18       Ashli Jarret            Pampano Beach, FL           Chase Bank, Loveland     15,000.00              15,000.00
                                                                                                                                                                     Ashli Jarrett
                                                                                                                               Bank Support: BOA_449 (Luton
                                                                                                                                           Acct)
                                                                                                                                   Bank Stmnt: BCO_62
                                                                                                                               Bank Support: BCO_64 (Cash)
                                   172-42 Brocher Rd, Jamaica,                                                                                                                                                                        Name, Address, & Ship Cost:
06/07/18      John Anderson                                            Bank of CO            5,000.00               5,000.00                                                                      cash         $     49.30    UPS
                                           NY 11434                                                                                                                                                                                          INV_1944
                                                                                                                                Bank Support: BOA_450-451
                                                                                                                                       (Luton Acct)
                                   172-42 Brocher Rd, Jamaica,                                                                    Bank Stmnt: BCO_33                                                                                  Name, Address, & Ship Cost:
06/07/18      John Anderson                                            Bank of CO            4,000.00               4,000.00                                                                      cash                        UPS
                                           NY 11434                                                                            Bank Support: BCO_35 (Cash)                                                                                   INV_1944
                                   172-42 Brocher Rd, Jamaica,                                                                                                                                                                        Name, Address, & Ship Cost:
06/07/18      John Anderson                                                                  6,000.00               6,000.00                                                                      cash                        UPS
                                           NY 11434                                                                                                                                                                                          INV_1944
                                                                                                                                   Bank Stmt: BEP_61
07/02/18                                                                                    25,000.00                                                             AMT agrees w/bs w'l.
                                                                                                                                  Bank Support: BEP_64



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DATE                                                                                                        TRIAL                                                                           CASH/
             NAME OF                                                                               ADDN'L                                                                                                       SHIP       SHIP
(on or                                ADDRESS                    S.O. BANK          S.O. AMT               VERSION                BATES                      COMMENT                       CHECK/                                   OTHER BATES NO
            RECIPIENT                                                                             AMNT DUE                                                                                                      COST      METHOD
about)                                                                                                     AMOUNT                                                                          PHONE
                                                                                                                             Bank Stmnt: BCO_26
                              132 School Street, Manchester,                                                                                            $25,000 Cashier's Check to
07/06/18   Whittas Trucking                                        Bank of CO         25,000.00               25,000.00   Bank Support: BCO_28 & 30                                      cashier's check                   FedEx   Name & Address: INV_1582
                                       CT 06040                                                                                                              Wittas Trucking
                                                                                                                                     (CC)
                                                                                                                             Bank Stmnt: BCO_26
                                736 Anna Laurel Rd, Early                                                                                               $25,000 Cashier's Check to
07/06/18    Barbara Nations                                        Bank of CO         25,000.00               25,000.00   Bank Support: BCO_28 & 29                                      cashier's check                   FedEx   Name & Address: INV_1584
                                    Branch SC 29916                                                                                                          Barbara Nations
                                                                                                                                     (CC)
                                                                                                                            Bank Stmnt: PMCU_38
                              172-42 Brocher Rd, Jamaica,
07/09/18     Frank White                                       Premier Members CU      5,000.00                4,000.00    Bank Support: PMCU_130                                             cash                         FedEx   Name & Address: INV_1585
                                      NY 11434
                                                                                                                                    (Cash)
                                                                                                                             Bank Stmnt: BEP_22
07/09/18                                                                               3,500.00                                                           AMT agrees w/bs w'l.
                                                                                                                            Bank Support: BEP_25
                                                                                                                             Bank Stmnt: BEP_22         $15,000 Cashier's Check to
07/16/18   Tracy Ann McLean                                        Bank of EP         15,000.00        6.00   15,006.00                                                                  cashier's check                   UPS        Address: INV_1694
                                                                                                                          Bank Support: BEP_26 (CC)     Tracy Ann Mclean. $6 Fee
                                                                                                                            Bank Stmnt: PMCU_38
                                                                                                                                                      $15,000 check disbursed receipt
07/16/18   Tracy Ann McLean                                    Premier Members CU     15,002.00               15,002.00    Bank Support: PMCU_131                                            check
                                                                                                                                                       to Tracy Ann McLean. $2 fee
                                                                                                                                   (Check)
                              132 School Street, Manchester,
07/17/18     Frank White                                           credit card         2,307.00                2,307.00                                                                 2 Verizon iPhones                  UPS        Address: INV_1694
                                       CT 06040
                                                                                                                        Bank Stmnt: BCO_22 ($30,000
                              132 School Street, Manchester,
07/23/18    Lloyd Wessom                                           Bank of CO         15,000.00               15,000.00    check split into two CC)                                      cashier's check                   UPS        Address: INV_1694
                                       CT 06040
                                                                                                                         Bank Support: BCO 71-72
                                                                                                                        Bank Stmnt: BCO_22 ($30,000
                              132 School Street, Manchester,
07/23/18    Lloyd Wessom                                           Bank of CO         15,000.00               15,000.00    check split into two CC)                                      cashier's check                   UPS        Address: INV_1694
                                       CT 06040
                                                                                                                         Bank Support: BCO 71-72
                              172-42 Brocher Rd, Jamaica,                                                                   Bank Stmnt: BEP_67
07/27/18     Frank White                                           Bank of EP         20,000.00               20,000.00                                         COUNT 5                       cash                         UPS        Address: INV_1694
                                      NY 11434                                                                          Bank Support: BEP_69 (Cash)
                                                                                                                             Bank Stmt: BEP_67
08/02/18                                                                               3,000.00                                                           AMT agrees w/bs w'l.
                                                                                                                           Bank Support: BEP_70
                                                                                                                            Bank Stmt: PMCU_43
08/02/18                                                                              15,000.00                                                           AMT agrees w/bs w'l.
                                                                                                                         Bank Support: PMCU_132
                              911 Grade Ln, Louisville, KY
08/06/18   Daniel McFarlane                                                           30,000.00               30,000.00                                                                       cash          $     83.69    UPS        Address: INV_1694
                                        40213
                                                                                                                            Bank Stmnt: PMCU_43
08/10/18                                                                               3,029.00                                                           AMT agrees w/bs w'l.
                                                                                                                           Bank Support: PMCU_133
                              172-42 Brocher Rd, Jamaica,                                                                                                                                                                          Name & Address: FEDX_15
08/10/18     Frank White                                                              10,000.00               10,000.00                                                                       cash                         FedEx
                                      NY 11434
                                                                                                                             Bank Stmt: BEP_67
08/20/18                                                                              15,935.41                                                           AMT agrees w/bs w'l.
                                                                                                                            Bank Support: BEP_71
                              172-42 Brocher Rd, Jamaica,                                                                   Bank Stmnt: PMCU_43
08/20/18     Frank White                                       Premier Members CU     15,100.00               15,100.00                                                                       cash                         FedEx   Name & Address: FEDX_14
                                      NY 11434                                                                            Bank Support: PMCU_71-72
                              172-42 Brocher Rd, Jamaica,
08/22/18     Frank White                                                              15,000.00               15,000.00                                                                       cash                         FedEx   Name & Address: FEDX_13
                                      NY 11434
                                                                                                                            Bank Stmnt: PMCU_43
                              172-42 Brocher Rd, Jamaica,
08/29/18     Frank White                                       Premier Members CU     14,000.00               14,000.00    Bank Support: PMCU_134                                             cash                         FedEx   Name & Address: FEDX_12
                                      NY 11434
                                                                                                                             (Cash); PMCU 73-74
                                                                                                                            Bank Stmnt: PMCU_43
                              172-42 Brocher Rd, Jamaica,
08/31/18     Frank White                                       Premier Members CU      6,000.00                6,000.00    Bank Support: PMCU_135                                             cash
                                      NY 11434
                                                                                                                                     (Cash)
                               172-42 Brocher Rd, Jamaica,
08/31/18     Frank White                                                              15,000.00               15,000.00                                                                       cash                         FedEx   Name & Address: FEDX_11
                                        NY 11434
                               172-42 Brocher Rd, Jamaica,
09/04/18     Frank White                                                              10,000.00               10,000.00                                                                       cash                         FedEx   Name & Address: FEDX_10
                                        NY 11434
                              204 Fifth Ave., Toms River NJ
09/06/18     Mark White                                            Bank of CO          5,000.00                5,000.00      Bank Stmnt: BCO_53                 COUNT 6                       cash                         FedEx   Name & Address: FEDX_9
                                          08757



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DATE                                                                                                     TRIAL                                                                                    CASH/
            NAME OF                                                                             ADDN'L                                                                                                                 SHIP        SHIP
(on or                             ADDRESS                   S.O. BANK          S.O. AMT                VERSION                             BATES                      COMMENT                   CHECK/                                             OTHER BATES NO
           RECIPIENT                                                                           AMNT DUE                                                                                                                COST       METHOD
about)                                                                                                  AMOUNT                                                                                   PHONE
                                                                                                                                  Bank Stmnt: PMCU_48
                           204 Fifth Ave., Toms River NJ
09/06/18    Mark White                                     Premier Members CU     10,000.00                          10,000.00  Bank Support: PMCU_136                   COUNT 6                    cash                             FedEx         Name & Address: FEDX_9
                                       08757
                                                                                                                                          (Cash)
                           204 Fifth Ave., Toms River NJ                                                                           Bank Stmnt: BCO_15
09/25/18   John Anderson                                   Premier Members CU     20,000.00                          20,000.00                                           COUNT 7                    cash                             FedEx         Name & Address: FEDX_8
                                       08757                                                                                   Bank Support: BCO_17 (Cash)
                                                                                                                                  Bank Stmnt: PMCU_52
                           4298 Oneida Ave., Bronx, NY                                                                                                                                                                                             Name, Address & Ship Cost:
10/01/18   Nadine Willis                                   Premier Members CU     20,000.00                          20,000.00  Bank Support: PMCU_139                                              cash           $      18.15       UPS
                                     10470                                                                                                                                                                                                                INV_1948
                                                                                                                                          (Cash)
                           450 Chaplin Ln, Estes Park CO
10/02/18    Frank White                                                           65,000.00                          65,000.00                                                                      cash                          hand-delivered
                                       80517
10/02/18                                                                          25,000.00                                                                            No match w/bs.
                           204 Fifth Ave., Toms River NJ
10/11/18   John Anderson                                                          10,000.00                          10,000.00                                                                      cash                             FedEx         Name & Address: FEDX_6
                                       08757
                           204 Fifth Ave., Toms River NJ                                                                              Bank Stmnt: BCO_50
10/11/18   John Anderson                                       Bank of CO          5,000.00                            5,000.00                                                                       cash
                                       08757                                                                                      Bank Support: BCO_52 (Cash)
                                                                                                                                     Bank Stmnt: PMCU_52
10/19/18                                                   Premier Members CU     25,000.00                          25,000.00     Bank Support: PMCU_141                                             cash
                                                                                                                                              (Cash)
                             1307 Pacific St., Apt 6D,                                                                             Purchase receipt: INV_1215
10/22/18   John Anderson                                       credit card         2,718.94                            2,718.94                                         COUNT 8               2 iPhone XS phones                     FedEx         Name & Address: FEDX_4
                               Brooklyn, NY 11216                                                                                    Credit card: INV_1256
                                                                                                                                     Bank Stmnt: PMCU_52
10/26/18                                                   Premier Members CU     34,144.00                          34,144.00     Bank Support: PMCU_110                                             cash
                                                                                                                                      (Cash); PMCU 79-80
                                                                                                                                     Bank Stmnt: PMCU_52
10/26/18                                                   Premier Members CU     10,000.00                          10,000.00     Bank Support: PMCU_110     $10,000 check disbursed to S.O.        check
                                                                                                                                             (Check)
                              1307 Pacific St., Apt 6,                                                                             Purchase receipt: INV_1216
10/30/18   John Anderson                                       credit card         2,718.90               0.04         2,718.94                                         COUNT 9               2 iPhone XS phones                     FedEx         Name & Address: FEDX_2
                               Brooklyn, NY 11216                                                                                    Credit card: INV_1674
                           204 Fifth Ave., Toms River NJ
11/05/18   John Anderson                                                          15,000.00                          15,000.00                                                                      cash                              UPS              Address: INV_1694
                                       08757
                           443 Tompkins Ave., Brooklyn,
11/07/18    Tom White                                                             15,000.00                          15,000.00                                          COUNT 10                    cash                              UPS              Address: INV_1694
                                     NY 11216
                                                                                                                                                                 Per S.O. chart, Tom White at
11/08/18                                                                          20,000.00                                                                     443 Tompkins Ave., Brooklyn,
                                                                                                                                                                          NY 11216

                                                                                                                                                                                                  TOTAL
                                                              SUBTOTAL           969,150.75           2,039.24      776,725.58                                                                                     $     265.42
                                                                                                                                                                                                 SHIPPING

                                                             TOTAL LOSS
                                                                                 971,455.41
                                                              AMOUNT

                                                                05/10/18         (24,825.00)   Entered as negative on SO's spreadsheet
                                                                03/27/18           5,000.00    Duplicate of 03/27/2018, 3,006 transaction
                                                                03/30/18          48,310.00    Deposited, then w'l as a counterfeit; Lee A Cowley
                                                                08/31/18           2,158.00    Verizon Wireless Chg

                                                               S.O.'s Total      999,793.75
                                                                                          -




                                                                                                                                      4                                                                                                  ATTACHMENT C
